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                        United States District Court
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION



FEDERAL TRADE COMMISSION                    §
   .                                        §
v.                                          § CIVIL ACTION NO. 4:19cv715-SD
                                            §
ADVOCARE INTERNATIONAL, LP,                 §
ET AL.                                      §


                                          ORDER

       It is ORDERED that the Rule 16 management conference in this case is reset from

January 7, 2020 to January 15, 2020 at 11:00 am before the undersigned at the U.S. Courthouse

located at 7940 Preston Road, Courtroom 105, Plano, TX 75024.

       So ORDERED and SIGNED this 3rd day of January, 2020.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE
